
Filed 1/22/02 by Clerk of Supreme Court

IN THE SUPREME COURT

STATE OF NORTH DAKOTA







2002 ND 15







In The Matter of The Application For Disciplinary Action Against Myron Tessmann, Judge of Burlington, North Dakota Municipal Court



Judicial Conduct Commission of

the State of North Dakota, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;		Petitioner

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;v.

The Honorable Myron Tessmann,

Judge of the Municipal Court, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

Burlington, North Dakota, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;			 Respondent









No. 20020009







CENSURE ORDERED
.



PER CURIAM
.



[¶1]	This is a disciplinary proceeding against Myron Tessman who was serving as a municipal court judge in Burlington, North Dakota, at the commencement of formal proceedings. &nbsp;Tessman has since resigned his position.



[¶2]	On January 8, 2002, under Rule 14, Rules of the Judicial Conduct Commission, a Hearing Panel of the Judicial Conduct Commission submitted an Agreement signed by Paul W. Jacobson, Disciplinary Counsel, and Tessman, and an Affidavit of Consent signed by Tessman. 



[¶3]	In the Affidavit, Tessman admitted to presiding over municipal court while smelling of an alcoholic beverage on a number of occasions, including, on or about November 9, 1999, July 3, 2001, July 17, 2001, and September 25, 2001. &nbsp;Tessman further admitted his conduct violated Canon 2, North Dakota Code of Judicial Conduct, which provides “A Judge Shall Avoid Impropriety and the Appearance of Impropriety in All of the Judge’s Activities”. &nbsp;Additionally, Tessman agreed to a sanction of censure by the Supreme Court and the limitation of not serving in the future as a municipal judge. &nbsp;The Hearing Panel accepted the Agreement and Tessman’s Affidavit.



[¶4]	Under R. Jud. Conduct Comm. 14(C), the respondent is required to sign an Affidavit indicating the respondent consents to the sanction, the consent is freely and voluntarily rendered, there is presently pending a proceeding involving allegations of misconduct, and the facts set forth in the affidavit are true. &nbsp;The Affidavit filed by Tessman meets these requirements. &nbsp;Under R. Jud. Conduct Comm. 14(D), the Supreme Court must either reject the agreement or enter the order disciplining the respondent.



[¶5]
	ORDERED
, the Agreement signed by Disciplinary Counsel and Myron Tessman and the Affidavit of Tessman are accepted; and 



[¶6]
	IT IS FURTHER ORDERED
, Myron Tessman is censured for his violation of N.D. Code Jud. Conduct Canon 2, and is prohibited from serving as a municipal judge.



[¶7]	Dated at Bismarck, North Dakota, January 16, 2002.



[¶8]	Gerald W. VandeWalle, C.J.

Carol Ronning Kapsner

Mary Muehlen Maring

William A. Neumann

Dale V. Sandstrom





